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       S. Pasadena, CA 91030-5756
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 9
       Attorneys for Plaintiffs
10

11                            UNITED STATES DISTRICT COURT

12                          CENTRAL DISTRICT OF CALIFORNIA
13
       RACHEL SCANLON, et al,                              Case No. 18-CV-07759-CBM-AS
14                     Plaintiffs,
             vs.                                          NOTICE OF MOTION AND
15
                                                          MOTION FOR PRODUCTION OF
16     COUNTY OF LOS ANGELES, et al,                      JUVENILE CASE FILES
17                                 Defendants.            Date: 3/26/19 Time: 9:00 AM
18                                                        Location: 350 W. 1st St., Courtroom 8B
                                                                    Los Angeles, Ca.
19                                                                  [Judge Consuelo B. Marshall]
20

21
       PLEASE TAKE NOTICE THAT, on the date, at the time, and at the location
22     stated above, or as soon thereafter as the matter may be heard, Plaintiffs will
23     move and do hereby move the Court for an Order that the Juvenile Court of the
24     County of Los Angeles shall produce court filed documents in the timely and
25     efficient manner described in this Motion, and the Department of Children and

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 1     Family Services of said County, shall produce the entire “juvenile case file” as
 2     that term is described by California Rules of Court, Section 5.552, also in the
 3     timely and efficient manner described in this Motion.

 4           This motion is based on the pleadings and declarations filed herewith, and

 5
       any reply to the anticipated opposition of the County of Los Angeles and
       employee defendants thereof, as well as on this Court’s Standing Order (Dkt. 9
 6
       herein), Welfare & Institutions Code (“WIC”) Section 827, California Rules of
 7
       Court, Section 5.552, FRCP 26 and evidence adduced in this proceeding thus
 8
       far, and such other law, facts, and argument as presented at time of hearing.
 9

10     Dated: February 23, 2019                                _/S/ Robert R. Powell_______
11                                                             ROBERT R. POWELL, ESQ.
                                                               Attorney for Plaintiffs
12

13

14                       CERTIFICATION OF MEET AND CONFER
15           I, Robert Powell, hereby certify I have met and conferred with counsel for
16     defendants through e-mail exchanges occurring initially February 20th, 2019,
17     then February 22nd, and finally February 23rd. Counsel for County Defendants
18     (referring to both the County and employee defendants thereof) are opposed to
19     the requested relief.
20
       Dated: February 25, 2019                                _/S/ Robert R. Powell_______
21                                                             ROBERT R. POWELL, ESQ.
22                                                             Attorney for Plaintiffs

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10

11             B.    Plaintiffs Have Access To The Juvenile Case File But
                     Defendants Do Not; And The Section 827 Petition
12                   Process Is Inconsistent With Federal
13
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 2                                   TABLE OF AUTHORITIES
 3
       CASES CITED
 4     [* denotes District Court Case in Central District]

 5     *Baker v. County of L.A., U.S.D.C.(Central); 11-CV-05550 ………………….. 5
 6
       Blankenship v. Hearst Corp., 519 F.2d 418 (9th Cir.1975)…………………... 12
 7
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 8

 9     Foster v. Superior Court, 107 CA.3d 218 (1980)…………………………….. 10
10     Gonzalez v. Spencer, 336 F.3d 832 (9th Cir. 2003)……………………………. 8
11
       Horn v. Hornbeak, 2010 WL 1027508 (E.D. Cal. March 18, 2010)…………… 9
12

13
       In re Anthony H., 129 CA.4th 495(2005)……………………………………….. 9

14     In re Keisha T., 38 CA.4th 220 (1995)…………………………………………. 9
15
       Kelly v. City of San Jose, 114 F.R.D. 653 (N.D. Cal. 1987)…………………… 8
16
       Maldonado v. Secretary of Calif. Dept of Corr. & Rehab.,
17     2007 WL 4249811 (E.D. Cal. 2007)…………………………………………… 9
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21     Navajo Express v. Superior Court, 186 CA.3d 981 (1986)……………………10
22
       Pack v. Kings County Human Services Agency, 89 CA.4th 821 (2001)……… 11
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       *Sigal v. County of L.A, U.S.D.C.(Central); Case #17-CV-04851………. Passim
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 1

 2     *Xoss v. County of L.A. 2:12-cv-01400-PSG-RZ……………………………… 6
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 4
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 5

 6     F.R.C.P. §26………………………………………………………………. 11, 12

 7     F.R.E. §402……………………………………………………………………. 12
 8
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12     Evidence Code §1045…………………………………………………………... 8
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16     California Rule of Court 5.552………………………………………. 7, 9, 11, 12
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 1     Family Services of said County, shall produce the entire “juvenile case file” as
 2     that term is described by California Rules of Court, Section 5.552, also in the
 3     timely and efficient manner described in this Motion.

 4           This motion is based on the pleadings and declarations filed herewith, and

 5
       any reply to the anticipated opposition of the County of Los Angeles and
       employee defendants thereof, as well as on this Court’s Standing Order (Dkt. 9
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       herein), Welfare & Institutions Code (“WIC”) Section 827, California Rules of
 7
       Court, Section 5.552, FRCP 26 and evidence adduced in this proceeding thus
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       far, and such other law, facts, and argument as presented at time of hearing.
 9

10     Dated: February 23, 2019                                _/S/ Robert R. Powell_______
11                                                             ROBERT R. POWELL, ESQ.
                                                               Attorney for Plaintiffs
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14                       CERTIFICATION OF MEET AND CONFER
15           I, Robert Powell, hereby certify I have met and conferred with counsel for
16     defendants through e-mail exchanges occurring initially February 20th, 2019,
17     then February 22nd, and finally February 23rd. Counsel for County Defendants
18     (referring to both the County and employee defendants thereof) are opposed to
19     the requested relief.
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       Dated: February 25, 2019                                _/S/ Robert R. Powell_______
21                                                             ROBERT R. POWELL, ESQ.
22                                                             Attorney for Plaintiffs

23

24
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25

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11             B.    Plaintiffs Have Access To The Juvenile Case File But
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13
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14    III.   Conclusion………………………………………………………………. 14
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 1

 2                                   TABLE OF AUTHORITIES
 3
       CASES CITED
 4     [* denotes District Court Case in Central District]

 5     *Baker v. County of L.A., U.S.D.C.(Central); 11-CV-05550 ………………….. 5
 6
       Blankenship v. Hearst Corp., 519 F.2d 418 (9th Cir.1975)…………………... 12
 7
       Filarsky v. Delia, 566 U.S. 377 (2012)………………………………………… 8
 8

 9     Foster v. Superior Court, 107 CA.3d 218 (1980)…………………………….. 10
10     Gonzalez v. Spencer, 336 F.3d 832 (9th Cir. 2003)……………………………. 8
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       Horn v. Hornbeak, 2010 WL 1027508 (E.D. Cal. March 18, 2010)…………… 9
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       Kelly v. City of San Jose, 114 F.R.D. 653 (N.D. Cal. 1987)…………………… 8
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21     Navajo Express v. Superior Court, 186 CA.3d 981 (1986)……………………10
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       Pack v. Kings County Human Services Agency, 89 CA.4th 821 (2001)……… 11
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       Soto v. City of Concord, 162 F.R.D. 603 (N.D. Cal. 1995)................................. 8
 1

 2     *Xoss v. County of L.A. 2:12-cv-01400-PSG-RZ……………………………… 6
 3
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 4
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 6     F.R.C.P. §26………………………………………………………………. 11, 12

 7     F.R.E. §402……………………………………………………………………. 12
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       F.R.E §501……………………………………………………………………… 8
 9
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11     Evidence Code §1043……………………………………………………………8

12     Evidence Code §1045…………………………………………………………... 8
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       Penal Code, §832.7……………………………………………………………... 8
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       Penal Code §832.8……………………………………………………………… 8
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16     California Rule of Court 5.552………………………………………. 7, 9, 11, 12
17     Welfare and Institutions Code §827……………………………………… passim
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               POINTS AND AUTHORITIES IN SUPPORT OF MOTION
 1

 2    I.    INTRODUCTION & BACKGROUND
 3
            This Court’s first point in its Standing Order (Dkt. 9 herein), other than the
 4
      comment regarding this is the Court to which the case has been assigned, is,
 5

 6             Both the Court and the attorneys bear responsibility for the progress
               of litigation in this Court. To secure the just, speedy, and inexpensive
 7
               determination of every action, all counsel are ordered to familiarize
 8             themselves with the Federal Rules of Civil Procedure and the Local
               Rules of the Central District of California.1 FED.R.CIV.P 1.
 9

10          Plaintiffs have no idea whether this Court has ever had occasion to deal
11
     with any case previously that involved obtaining records from the County of Los
12

13
     Angeles’ Department of Children & Family Services. (“DCFS”) If the Court

14   has had such experience, then Plaintiff submits it will likely read the following
15
     background with a slight but running affirmative nod of the head. The problems
16
     Plaintiffs will be addressing are truly deserving of the moniker “legend.” The
17

18   “just, speedy, and inexpensive determination of” this matter will at the very least

19   fail miserably on the “speedy” prong, without the Order Plaintiffs are requesting.
20
            Attached to the Declaration of Robert R. Powell, are the declarations of
21
     Donnie R. Cox, Esq., and Shawn A. McMillan, Esq., two attorneys who actually
22

23   handle this kind of litigation – civil rights claims against child protective service

24   agencies and law enforcement – in the State of California. [Ex.’s A & B
25
     respectively]
                                                     1
     ____________________________________________________________________________________________
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            There are less than twelve (12) or so attorneys total – and that is including
 1

 2   the associate attorneys of these gentlemen and the undersigned – who handle this
 3
     type of litigation on a regular, day to day basis and it makes up 70%-90% or
 4
     more of their practice of law. The undersigned submits without the slightest
 5

 6   hesitation that Mr. Cox, his long time colleague Mr. Paul Leehey, Mr. McMillan

 7   and the undersigned, are Plaintiff attorneys with far and away the most
 8
     experience in litigation of this kind against the County of Los Angeles. This is
 9
     not offered as boast, but because these counsel and Plaintiffs counsel herein have
10

11   the experience, and most importantly, the experiences are identical in the

12   material aspects relevant to this motion and obtaining the juvenile case files from
13
     the County of Los Angeles Superior Court Juvenile Division.
14
            “Juvenile case files” are as defined by Cal. Rule of Court 5.552, and with
15

16   or without the overlay of a civil rights action, the California law governing how
17   you obtain and use the juvenile case file contents is addressed by W&IC 827,
18
     and filing a Petition pursuant to that code section in the Superior Court.
19

20
            The aforementioned attorney’s experiences are contained in their attached

21   declarations, fairly recently prepared for assisting in an effort to obtain the
22
     juvenile case files in the case of Sigal v. County of Los Angeles, U.S.D.C. –
23
     Central Dist., Case #17-CV-04851-RGK-AGR Sigal was another case with an
24

25   outrageous wait time for the juvenile case file.
                                                     2
     ____________________________________________________________________________________________
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            As explained in the Declaration of Robert R. Powell, and the Declaration of
 1

 2   Donnie R. Cox, and the Declaration of Shawn A. McMillan, submitted in
 3
     support of this Motion, obtaining these records through the ostensibly routine
 4
     method of filing a request under W&IC 827 in the County of Los Angeles
 5

 6   Superior Court, Juvenile Division, is a process that for reasons not known with

 7   certainty, takes months and months and months, and has in fact taken over a year
 8
     at times; times that appear to be back. [See Ex’s A & B, and Declaration of
 9
     Rachel Raymond] We are at “months and months” right now in this case, and the
10

11   most recent description given to attorney Rachel Raymond for Plaintiffs as to

12   how bad things are in terms of production, was “one and a half years.”
13
            Plaintiffs also want to be very clear, that even if the Court for any reason
14
     feels disinclined to make an Order directing the juvenile court to produce the
15

16   content of the court files, the Court should most certainly order the production of
17   all of the documents described by the Cal. Rules of Court 5.552 in its files, and,
18
     the Warrant Consultation and Warrant Fact sheets specifically included in the
19

20
     draft of the Order that Plaintiffs are requesting, which is attached as Exhibit G to

21   the Declaration of Robert R. Powell.
22
            The purpose of this Motion is to move this proceeding along, because aside
23
     from hurdles that some attorneys can mount on occasion in the course of
24

25   litigation (some valid, some not), there are so many things out of the control of
                                                     3
     ____________________________________________________________________________________________
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     all concerned that suddenly it can be months and months before any of the
 1

 2   “meat” of the case can be obtained, analyzed, and used to prosecute or defend
 3
     the action. If anyone is to take a deposition prior to Easter, this has to happen.
 4
            As set forth herein below, it has already been six (6) months since
 5

 6   Plaintiff’s requested the juvenile case file, and over three (3) months since

 7   Defendants served Plaintiff with their request, both by W&IC 827 filed with the
 8
     juvenile court. As the Court will read in the Declaration of Rachel R. Raymond,
 9
     there is no basis for believing we will be seeing the records anytime soon if we
10

11   simply do nothing. She was told the “backlog” is now one and a half years. She

12   was also told there is one “research attorney” handling the requests, and he has
13
     350 such Petitions to address.
14
            The proposed Order Plaintiffs submitted herewith, to be filed if the Court
15

16   so Orders, sets forth a very clear set of steps to gather and produce the records,
17   defines what records to produce (though CRC 5.552 really should not need any
18
     further explication as it uses the words “all documents”), and the Plaintiff’s
19

20
     proposed Order dictates a method that relieves any County employee from some

21   of the handling of the documents and the documents will end up in the Adobe
22
     PDF format, ready for use in this Federal District Court. This Order proposes no
23
     expense for scanning to the County but rather the cost is shared equally between
24

25   Plaintiffs and Defendants. And most importantly, the proposed Order requires
                                                     4
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     all of this in a timeframe of a mere thirty (30) days from the time of service of
 1

 2   the Court’s Order on the Clerk of the Court and twenty-five (25) days from the
 3
     time of service on DCFS; the days referring to time from service to time made
 4
     available for copying and scanning by a third party copy/scan provider, together
 5

 6   in the Court Clerk’s office.

 7          The Order Plaintiffs ask the Court to endorse also provides a very standard
 8
     protective order such as Plaintiff’s counsel has used in numerous cases where
 9
     juvenile case files have been obtained for use in litigation.
10

11          The issue addressed herein below is the issue of the Court’s authority for

12   making such orders, which in the experience of the undersigned, is the only
13
     question the Court has and arguably the only question that matters at this point.
14
     Generally Federal Courts like discovery to move along and cases to proceed in
15

16   reasonably prompt fashion to whatever eventual outcome may be in store.
17          Plaintiffs’ Counsel has obtained orders of this nature previously in the
18
     Central District Court, that have expedited the ability to conduct meaningful
19

20
     discovery for all parties concerned.

21          In Monteihl v. County of Los Angeles 10-CV-08183-SVW-JEM (Dkt. 16),
22
     the Court (Hon. Steven W. Wilson) came up with the idea on his own at a
23
     scheduling/case management conference. [Dec. Robert Powell Ex. C] Also in
24

25   Baker v. County of Los Angeles 2:11-cv-05550-GHK-PJW, a case in which
                                                     5
     ____________________________________________________________________________________________
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     Peterson Bradford & Burkwitz also represented Defendants, Judge Patrick J.
 1

 2   Walsh ordered records produced by DCFS. [Dec. R. Powell Ex. D] 1 The same
 3
     was accomplished by Stipulation and Order with another firm representing the
 4
     County, in the case of Xoss v. County of Los Angeles 2:12-cv-01400-PSG-RZ,
 5

 6   which Plaintiffs’ counsel was involved in during 2012-13. [Xoss, Dkt. 44]2

 7          Finally, in the matter of Sigal, a Motion identical in many respects to this
 8
     one was filed, and the Court made an order (Dkt. 68) upon Plaintiffs motion (by
 9
     the undersigned) that is virtually identical to the proposed Order attached to the
10

11   Declaration of Robert Powell [ ] for this case as Exhibit G. 3

12          Currently, in the effort to obtain the juvenile case file, the Plaintiffs filed
13
     their request September 21st, 2018! Ex. E The Defendants submitted their
14
     request (to Plaintiff’s counsel at least) on November 7th, 2018. Ex. F
15

16          The Court has authority to make the orders Plaintiffs request and should
17   make such orders. Delay of the magnitude discussed herein above, and below, is
18
     an anathema to justice and the determination of the truth.
19

20    1
        Judge Walsh in fact called supervising juvenile court Judge Michael Nash to
21    discuss the issue and received a promise of efforts to expedite production. Ex. B
      2
        Should the Court wish, Plaintiffs counsel can also refer the Court to cases in
22    Northern District where such orders have been made by a District Court judge.
23
      3
        One aspect that is not “virtually identical,” is that this Order includes a
      requirement that DCFS turn over certain documents that are specific to juvenile
24    cases where DCFS has obtained a warrant (Warrant Consultation and Warrant
      Fact Sheet), which in Sigal, were documents that were NOT turned over when
25
      the juvenile case file was received by Plaintiffs. [Decl. Robert Powell]
                                                     6
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     II.    ARGUMENT
 1

 2          A.       This Court Has Authority To Order Disclosure
 3
            California Welfare and Institutions Code section 827 establishes the
 4
     confidentiality of juvenile case files and permits only certain individuals to
 5

 6   inspect such files without prior leave of court. California Rule of Court 5.552

 7   defines “juvenile case file” broadly and includes all documents filed in a juvenile
 8
     court case; all documents prepared by or made available to social workers; and
 9
     all material admitted into evidence at juvenile court hearings. CRC 5.552 reads,
10

11               For the purposes of this rule, "juvenile case file" includes:

12               (1)All documents filed in a juvenile court case;
13
                 (2)Reports to the court by probation officers, social workers of child
14               welfare services programs, and CASA volunteers;
15
                 (3)Documents made available to probation officers, social workers of
16               child welfare services programs, and CASA volunteers in preparation
                 of reports to the court;
17

18               (4)Documents relating to a child concerning whom a petition has been
                 filed in juvenile court that are maintained in the office files of
19               probation officers, social workers of child welfare services programs,
20
                 and CASA volunteers;

21               (5)Transcripts, records, or reports relating to matters prepared or
                 released by the court, probation department, or child welfare services
22
                 program; and
23
                 (6)Documents, video or audio tapes, photographs, and exhibits
24               admitted into evidence at juvenile court hearings.in pertinent part,
25
                                                     7
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            In federal question cases, such as this matter, privileges are determined
 1

 2   under federal common law. Fed. R. Evid. 501. There is no privilege for juvenile
 3
     records under federal law. The Ninth Circuit has held that district courts may
 4
     order the disclosure of juvenile court records notwithstanding state law.
 5

 6   Gonzalez v. Spencer, 336 F.3d 832, 835 (9th Cir. 2003), overruled on other

 7   grounds in Filarsky v. Delia, 132 S. Ct. 1657 (2012).
 8
            In fact, federal courts regularly order the production of information deemed
 9
     private under California statutes. Most notably are peace officer personnel files,
10

11   which enjoy strict statutory protections, and require a motion from the requesting

12   party and court order for production.4 Federal courts reject this statutory process
13
     in favor of disclosure in response to a discovery request. Kelly v. City of San
14
     Jose, 114 F.R.D. 653 (N.D. Cal. 1987); Soto v. City of Concord, 162 F.R.D. 603
15

16   (N.D. Cal. 1995). Federal courts have reasoned that the federal policy on
17   discovery is a liberal standard, and applying California privilege law would
18

19
      4
        Under California law, the Peace of Office Bill of Rights (POBAR) deems
20
      peace officer personnel records confidential and subject to discovery only
21    pursuant to the procedures set forth in the Evidence Code sections 1043 and
      1045. Pen.Code, §§ 832.7, 832.8. A party seeking disclosure must file a written
22    motion, describing the type of records or information sought and provide
23    affidavits showing good cause for the disclosure, setting forth its materiality to
      the pending litigation and stating on reasonable belief that the identified agency
24    possesses the records. Evid.Code, § 1043. The court must then make an in
      camera examination of the information produced by the agency and exclude
25
      disclosure of certain material. Evid.Code, § 1045, subd. (b).
                                                     8
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     severely limit civil-rights plaintiffs from gaining access to the police files in
 1

 2   dispute. Soto, 162 F.R.D. at 609, fn. 2. The privacy interests at stake can be
 3
     protected by a “tightly crafted” protective order that can limit who has access to
 4
     the sensitive information. Id. at 662. The proposed Stipulation and Order
 5

 6   submitted to this Court has such a protective order.

 7          In 2007, in the Northern District Court of California, the Court held that
 8
     Section 827 does not bind federal courts, citing Maldonado v. Secretary of Calif.
 9
     Dept of Corr. & Rehab., 2007 WL 4249811 (E.D. Cal. Nov. 30, 2007). 5 In that
10

11   case, the district court ordered release of documents pertaining to a minor who

12   died while in custody of a youth correctional facility after finding that a
13
     protective order would remedy any concern about privacy rights. Id. at *7.
14
     Moreover, even though this Court is not bound by California law pertaining to
15

16   juvenile records, it is noteworthy that even if confidentiality of juvenile case files
17   applies, it is not absolute under state law. In re Keisha T., 44 Cal.Rptr.2d 822,
18
     827 (1995). In fact, Section 827 contemplates that inspection by third parties is
19

20    5
        District courts in California have recognized the jurisdiction of a federal court
21    to make such orders. In re Anthony H., 129 Cal. App. 4th 495, 449-451 (2005),
      was a case in which a district judge denied a request for disclosure of a juvenile
22    case file on the ground that the juvenile court was vested with exclusive
23    authority to decide whether to disclose the records. However, that analysis was
      then rejected in Horn v. Hornbeak, 2010 WL 1027508 (E.D. Cal. March 18,
24    2010), on the ground that federal courts are not bound by state law, and indeed
      the Court making that decision cited Gonzales, 336 F.3d at 834-35 and
25
      Maldonado, 2007 WL 4249811 at *5.
                                                     9
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     necessary. See Foster v. Superior Court, 107 Cal.App.3d 218, 230 (1980) (in a
 1

 2   criminal action so the defendant could exercise the constitutional rights of
 3
     confrontation and cross examination); Navajo Express v. Superior Court, 186
 4
     Cal.App.3d 981, 985 (1986) (in a civil action brought by the minor).
 5

 6          B.      Plaintiffs Have Access To The Juvenile Case File But
                    Defendants Do Not; And The Section 827 Petition
 7                  Process Is Inconsistent With Federal Discovery Requirements.
 8
              A minor and that minor’s parents or guardians can inspect the juvenile
 9
     case file without a court order. W&IC Section 827(a)(1)(C) and (D). In contrast,
10

11   Defendants’ counsel cannot inspect the records because they are not “actively

12   participating in criminal or juvenile proceedings involving the minor.” Section
13
     827(a)(1)(E). Thus, Plaintiffs have full access to the juvenile case file at issue in
14
     this case, but, under state law, not one of the Defendants do; indeed, the retained
15

16   private counsel for the Defendant’s cannot so much as “hear about” the juvenile
17   case proceedings until a release of the records and a protective order is in place.
18
     Privately retained outside counsel are not remotely described at all as a
19

20
     person/entity able to receive such documents in W&IC 827.

21          This dichotomy about access to records under Section 827 creates several
22
     unworkable discovery problems, where, as here, the minor’s parents elect to
23
     bring a civil-rights action against social workers for the handling of the
24

25   dependency matter on behalf of themselves and their children.
                                                     10
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            First, the Section 827 petition process is inconsistent with the scope of
 1

 2   discovery under the Federal Rules, which is extremely broad. F.R.C.P. 26(b)(1);
 3
     Soto,162 F.R.D. at 610. Under California Rule of Court 5.552(e), the juvenile
 4
     court can withhold the juvenile case file, in whole or in part, if it deems such
 5

 6   withholding necessary to protect the privacy rights of the minor. The underlying

 7   juvenile case is not one of beatings, starvings, physical or sexual abuse; those
 8
     kinds of concerns are simply not applicable here.
 9
            In federal question cases, federal courts are required to balance privacy
10

11   interests against the need for discovery to determine whether privileged

12   documents are discoverable. This balancing approach is pre-weighted in favor
13
     of disclosure. Kelly, 114 F.R.D. at 660. A juvenile court considering a petition
14
     pursuant to Section 827, however, must err on the side of nondisclosure. Pack v.
15

16   Kings County Human Services Agency, 89 Cal.App.4th 821, 829 (2001). This is
17   a direct conflict in the practical sense, one that hinders timely pursuit of
18
     representation in federal cases such as this case. And, it is an impractical and
19

20
     unnecessary conflict, where as here, the children themselves are desirous of the

21   records to prove their case and more than happy to let the Defendants’ counsel
22
     see what their clients did to them.
23
              Second, federal discovery rules require parties, at the outset of litigation,
24

25   to complete initial disclosures providing “a copy – or description of by category
                                                     11
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     and location – of all documents . . . that disclosing party has in its possession,
 1

 2   custody, or control and may use to support it claims.” F.R.C.P. 26(a)(1)((ii). This
 3
     is impossible here because Defendants cannot inspect their own records – nor
 4
     can their attorneys – without the juvenile court’s permission. And the point of
 5

 6   the request for this Court to make such an order is based on the very practical

 7   issue/concern, that these State Court processes – and specifically this process in
 8
     the County of Los Angeles - can take inordinate amounts of time; all the while,
 9
     memories fade, costs accrue, and the case remains on the federal courts docket.
10

11            Third, the concept that the juvenile court is the arbiter of what is material

12   to the federal litigation does not square with federal law. Under Section 827 and
13
     California Rule of Court 5.552, the parties must establish good cause for
14
     disclosure. This showing is incompatible with Federal Rule of Evidence 402,
15

16   which states that materiality should have no part in construing the Federal Rules.
17   Soto, 162 F.R.D. at 609.
18
              Fourth, under Section 827, the burden of overcoming confidentiality is
19

20
     placed on the party requesting the petition, whereas under federal law, the

21   burden is on the party opposing discovery. Miller v. Pancucci, 141 F.R.D. 292,
22
     298, 299 (C.D.Cal.1992) (citing Blankenship v. Hearst Corp., 519 F.2d 418, 429
23
     (9th Cir.1975).
24

25
                                                     12
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            Here, Plaintiffs are unclear how to explain the position that the Defendants
 1

 2   have taken, for the same firm represented this County in Sigal, and joined in the
 3
     “idea” of having the Federal Court order the juvenile court and their own client
 4
     to produce the juvenile case file; their entire dispute basically claimed some
 5

 6   language created an unfair burden on them, and issues with the rapidity of the

 7   process suggested by Plainiffs’ proposed Order. (See Sigal, Dkt. 57 –
 8
     Defendant’s Order draft at Dkt. 57.3) The latest position – even after being
 9
     apprised of what Ms. Raymond had been told by the clerk and “research
10

11   attorney” about 350 petition backlogs and waiting a year and a half – was that

12   there was really no “urgency,” and it was “heavy-handed” for a Federal Court to
13
     make such an order.
14
            Plaintiffs want this case to be litigated, and litigated in a timely fashion,
15

16   and it cannot reasonably be expected that the juvenile court has a vantage point
17   to know or understand what records are relevant to a litigation asserting claims it
18
     does not decide. There is no occasion under any California state or court
19

20
     precedent, whereby a juvenile dependency court makes rulings or expresses

21   opinions on whether a litigant in that court’s constitutional rights of the 4th and
22
     14th Amendment variety have been violated. 6
23

24    6
        This statement does not include the conclusions of juvenile courts on occasion
      that indicate a parent did not get proper “notice” of a proceeding; that does occur
25
      from time to time.
                                                     13
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              Though Plaintiffs have access to the juvenile case files and are in
 1

 2   possession of a significant portion of them right now, they are not able to
 3
     actually use these documents in litigation. They cannot disseminate the
 4
     documents to any parties not specified in Section 827, nor can they attach any of
 5

 6   the documents to its filings as evidence to support their claims.

 7   III. CONCLUSION
 8
            In conclusion, this Court has the jurisdiction and authority to order
 9
     disclosure of the juvenile case files. Welfare and Institutions Code § 827 does
10

11   not bind federal courts. Additionally, there is good cause for this Court to order

12   disclosure, as the 827 petition process in the Superior Court for the County of
13
     Los Angeles which might previously have been simply described as “extremely
14
     long,” is now better defined as “abhorrent to justice,” causing substantial delays
15

16   in timely litigation of a case alleging an egregious submission of perjured
17   testimony and half-truths in order to procure a warrant and remove two very
18
     young children, one of whom is autistic and suffered greatly as a result.
19

20
            Allowing this to continue and delay the discovery in this case is

21   incompatible with broad federal discovery rules. Although there are legitimate
22
     privacy interests at stake, these can be sufficiently protected by the Protective
23
     Order that is included in the Proposed Order submitted herewith.
24

25
                                                     14
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            Finally, Plaintiffs want to reiterate their request that regardless of whether
 1

 2   the Court is inclined to make an Order for the County’s Superior Court to
 3
     produce the documents/records in the Court file, Plaintiffs ask the Court to order
 4
     DCFS to produce their records, and in the manner described in Plaintiffs’
 5

 6   Proposed Order. There is little doubt that they will come with redactions, and

 7   indeed “redactions” have been a problem in the past, but the method for dealing
 8
     with those is also spelled out in Plaintiffs’ Proposed Order, of course utilizing a
 9
     Privilege Log as the first step in the process of determining the validity of any
10

11   redactions.

12           For the reasons stated above, Plaintiffs respectfully request that the Court
13
      agree with the Proposed Order Regarding Juvenile Case Records And Protective
14
      Order attached as Exhibit G to the Declaration of Robert Powell, and sign and
15

16    file same, thereby allowing the parties to proceed in a timely way with the
17    prosecuting of this matter before the children are entering high school.
18
                                                          POWELL & ASSOCIATES
19

20
      Date: February 24, 2019                             ___/S/ Robert R. Powell_
                                                          ROBERT R. POWELL, ESQ.
21                                                        Attorney for Plaintiffs
22

23

24

25
                                                     15
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